                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

 SLWM LLC,                                     )
                                               )
                              Plaintiff,       )            Case No. 4:23-cv-215
                                               )
         v.                                    )            Hon. Roseann Ketchmark
                                               )
 The Sourcing Group, LLC, Kyle Smith, Rachelle )
 Reeves, Jennifer Harrington, Amy Tilla,       )
 Stephanie Wazlavek, Amy Woods, Noah North, )
 Amber Hornberger Black, William Caan, and Joe )
 Falcone,                                      )
                                               )
                              Defendants.      )

  DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF DEADLINES FOR
 PLAINTIFF’S EMERGENCY MOTION FOR PRELIMINARY INJUNCTION (Dkt. 2)

       Defendants The Sourcing Group, LLC (“TSG”), Kyle Smith, Rachelle Reeves, Jennifer

Harrington, Amy Tilla, Stephanie Wazlavek, Amy Woods, Noah North, Amber Hornberger Black,

William Caan, and Joe Falcone, (collectively, the “Defendants”), by and through counsel,

respectfully move the Court for a brief extension of the parties’ briefing deadlines for Plaintiff’s

Emergency Motion for Preliminary Injunction (Dkt. 2). In support, Defendants state as follows:

       1.      Pursuant to the Court’s Preliminary Scheduling Order (Dkt. 38), Defendants’

opposition to Plaintiff’s Emergency Motion for Preliminary Injunction is due June 14, 2023 and

Plaintiff’s reply is due June 21, 2023.

       2.      The parties conferred and agreed to reschedule certain depositions for discovery in

this matter. As part of that agreement, the parties agreed to extend the above-referenced briefing

deadlines as follows:

               a.       Defendants’ opposition deadline to June 19, 2023; and

               b.       Plaintiff’s reply deadline to June 25, 2023.



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       3.      These extensions do not impact any other deadlines.

       4.      There have been no prior requests to extend these deadlines.

       5.      The requested extensions are unopposed.

       6.      Good cause for extending the deadlines exists as described above.

       WHEREFORE, Defendants request that the Court sustain this motion, extend the

Defendants’ deadline for filing an opposition to Plaintiff’s Emergency Motion for Preliminary

Injunction to and including June 19, 2023, extend Plaintiff’s deadline for filing a reply to and

including June 25, 2023, and grant such further relief as the Court deems just and proper.

                                             Respectfully submitted,

                                                  ARMSTRONG TEASDALE LLP

                                                       __/s/ Kevin W. Prewitt ______
                                                       Kevin W. Prewitt               #66161
                                                       Nicholas D. Slovikoski         #73019
                                                       2345 Grand Boulevard, Suite 1500
                                                       Kansas City, Missouri 64108-2617
                                                       Telephone: 816.221.3420
                                                       Fax: 816.221.0786
                                                       kprewitt@atllp.com
                                                       nslovikoski@atllp.com

                                                       Clark H. Cole                     #28668
                                                       7700 Forsyth Blvd., Suite 1800
                                                       St. Louis, Missouri 63105
                                                       Telephone: 314.621.5070
                                                       Fax: 314.621.5065
                                                       ccole@atllp.com

                                                       JEFFER MANGELS BUTLER &
                                                       MITCHELL LLP
                                                       R. Scott Brink, admitted pro hac vice
                                                       Dan P. Sedor, admitted pro hac vice
                                                       Raef Cogan, admitted pro hac vice
                                                       1900 Avenue of the Stars, 7th Floor
                                                       Los Angeles, CA 90067
                                                       (P) 310-203-8080
                                                       (F) 310-712-8554
                                                       sbrink@jmbm.com


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                                                        dsedor@jmbm.com
                                                        rcogan@jmbm.com

                                                        ATTORNEYS FOR DEFENDANTS

                                CERTIFICATE OF SERVICE

       I hereby certify that on the 12th day of June, 2023, I filed the foregoing through the Court’s

CM/ECF system, which will send notice of the electronic filing to all counsel of record.

                                                      /s/ Kevin W. Prewitt
                                               Attorney for Defendants




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